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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 15-CIV-20024-TORRES

                                         CONSENT CASE

  TODD JEROME, MALIK WHITE, and
  JENNIFER GILNER, and behalf of themselves
  and others similarly situated,

                                          Plaintiffs,



  v.

  GRILL CONCEPTS, INC., a foreign
  corporation d/b/a GRILL ON THE ALLEY,

                 Defendants.

  ___________________________________________/

                                  JOINT NOTICE OF SETTLEMENT

         The Plaintiffs, the opt-in Plaintiffs and the Defendant, advise the Court that the above

  styled case has been settled.

                         Respectfully submitted this 30th day of March 2015 by,

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